       Case 17-50849         Doc 59        Filed 03/28/18 Entered 03/28/18 15:53:41             Desc Main
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Carolle Bruno-Hall                                                         Clerk
5506 Constant Spring Terrace                                               U.S. bankruptcy Court
Lauderhill,Florida 333L9                                                   116 N. Main Street Rm. 223
                                                                           Harrisonburg Virginia 22802

                                      February 26,20L8

                                             IN/RE:
                                       Bill Douglas Golden
                                      Chapter 7,
                                           L7-50849
                                       Case No.
                            lDocKET ENTRJES NOS.39 AND 40J
                             NOTICE OF DISMISSAL BY DEBTOR

      PLEASE TAKE NOTE       thatthis is my FORMAL    OBJECTION to the request of Dismissal
      By Debtor: Bill   Douglas Golden. In reference to the above mentioned case.




                                                               Respectfrrlly submitted:

                                                               Carolle Bruno-Hall




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                                    r=E D_-H.ARgls_o_N B u Rc, vA
                                 U.S BANKRUPTCY COÚRT
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                            By
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                                UNITED STATES BANKRUPTCY COURT
                                  V/ESTERN DISTRICT OF VIRGINTA
                                     HARRISONBURG DI\ISION

IN RE:                                                          )
                                                                )         Chapter 7
BILL DOUGLAS GOLDEN,                                            )         CaseNumber l7-50849
                                                                )
                                                                I
                  NOTICE OF DISMISSAL AND OPPORTUNITY TO BE HEARD

         PLEASE TAKE NOTICE thatthe pro se debtor has filed a motion to dismiss this

bankruptcy case [Docket Entries Nos. 39 and 40].r

         PLEASE TAKE NOTICE that unless you file an objection on orbefore March 15,2018,

this case will be dismissed on the motion of the debtor without further notice or hearing by enfiry

of the Court's form order of dismissal.

         PLEASE TAKE FURTHER NOTICE that if an objection is filed" it u/ill be heard on

March 21,2018 at 2:00 p.m. in the United States Banlnr¡ptcy CourÇ United States Courtlrouse,

1ló N. Main Ste€t, Harrisonburg VA 22801.

Dated:22 February2018                                  Respectfu lly submitted,
                                                       JOHN P. FITZGERALD,             III
                                                       ACTING UNMED STATES FOR REGION FOUR

                                                       By:/s/ Marsaret K. Garber

Margaret K. Garber (VSB No. 34412)
Assistant Unitd States Trustee
Office ofthe United States Trustee
210 First Street, Suite 505
Roanoke, VA 24011
Marsaret.k garb€r@.usdoj. gqv
(s40) 8s7-2806
                                              Certificate of Sen¡ice



t
 In the interests ofjustice and to provide adequate notice to all parties in inæresg the United St¿tes Trusæe is
providing this notice. The United States Trustee does not oprpose this mofion.
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 Inru     BillDarglasGokfus                                               cÄsNo.        t7-50t49

                                                                          (ITAPTER ?



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          Case 17-50849        Doc 59      Filed 03/28/18 Entered 03/28/18 15:53:41                  Desc Main
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                                                   Bill Golden
                                                      6E0 PhilliP St
                                                   Staunton, V^24N1

                                                     March 23,2016

                                            Tax Lien Certifïcate Transfer

Full Name: Carolle Bruno-Hall
5506 Constant SPring Terrace
Fort Lauderdale. FL

Hi Carolle,

Enclosed please find the following documents:
                                                                     for your records)
    l)   Tax Lien Certificate Endorsement Transfer Form (Plus l-Copy
    2)   W-9 Form
    3)   Check in the amount of $2-25

                                                             of the tax lien certificate over to you:
Here,s what you need to do in order to complete the transfer

    1.   Complete Your W-9 Form.
                               ..original" copy of your Tax Lien certificate Endorsement                      Form, and the
    2. Mail your w-g Form, the
         enclosed 52.25 check, to the following address:

              Broward CountY Tax Collector
              Attention: APril McKune
              115 S. Andrews Ave
              Fort Lauderdale' FL
              33315

                                                           v/irh




 ARE TAX CERTIFICATES TRANSFERABLE? Tax certificates may be sold and/or transferred to another parry. Transfer
 f.r*. *ailable up"*"q** norn ttr" County Tax Collector's Offrces. All tax certificate transfers MUST be recorded
         r*
 in the County Tax Coilector;s Office. There is a $2.25 fee for recording each assignnrent in the offtcial records. In addition'
 rhe new o*o", MUST complete a W-9 form for reporting interest collected and subsequently disbursed to the certificate
 holder. The Tax Collectors õfti"" may request that you receive a BIDDERS NIIMBER prior to transferring Tax Certificate
 to Buyer. Buyer MUST contact the Tax OfFrce to confirm whether or no BUYER needs a bidder number. When an assigned
 certificate is redeenpd, the total accumulated interest from the original date of issuance is reported to the IRS under the
 certificate holder's Social SecurityÆederal Tax ID number, regardless of the date of transfer-
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 The Seller (Grantor), Bill Golden of 680 Phillip St, City of Staunto4 County of August4
 State of Virginia for the consideration of $4$00.00 agrees to Convey and Transfer the
 following real estate tax lien certificate (Senior Lien) to Carolle Bruno-Hall (Buyer):

    Seller shall convey to Buyer full ownership of a Senior Lien (Tax Lien Certificate) to
    the following described property, situate, lying and beiog in Broward, Florida:

        7334   NW     19 COI.]RT,   PEMBROKE PINES, FL

    o   Seller shall prepare the tax lien certificate transfer form forpurposes of transfening
        sa¡ne in to the name of Buyer. As such, Seiler shall prepare and mail said transfer
        form to Buyer within 2-business days from receipt of Buyer's $4,000 totat payment.
        Seller will mail said documents via USPS, with a tracking number, directþ to
        Buyer's address.



    a   Good Faith Dovvn Pa1'ment Buyer agrees to make a down payment in the a¡normt of
        $300; which is to be applied the total purchase price of ${000; thus leaving a
        balance of only $3,700. As zuch, Buyer agrees to make her $300 dor¡m paynent on
        or before Saturday March 19,2016. Buyer's finat $3,700 is due on or before March
        26,2016.



    o   l¡the event Buyer wishes to peruse deed ornmership, via tær decd sale, on or about
        April of 2017, Seller agrees to prepare Buyer's tax deed sale application for her.

 Payment Instructions: Buyer can use Seller's banking infornration forpurposes of making
 ther payments via direct bank deposit or via bank wire:

 Ba¡k $/ells   Fargo (Opened account at the rüells Fargo Harrisonburg,   VA branch)
 Bank Wire Routing Transit Nr¡mber: 121000248
 Bank Checking Account Number: l19l78l168
 Na¡ne and address on Account: Bill Golder¡ 680 Phillip   s! stauntoq vA    24401



 Bill Golden
 Bill Golden/Seller
 Dated this March 18, 2016




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                                                       Mail 6 of 16
                                               - Yahoo Page
Agreement for tax lien certificate as promised
                                         Document
                                                                                                                                A\

                                                                                          Friday- March 18. 2016 1:08 Pkl
        Agr€ement for ta¡( ¡i€n c€rtlñcatã æ Ptombed
        FÞG'BüGolden' <d6nportd@yañoo'coÍÞ
          To:'Caronè Haf,i <beqdothùh@!¡dloo'com>

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           Sav€



        Hi Carrole.
                                                           business with me'
        I warit to thank you for making the decision to do
        I will not let You down!
                                                             $4'0OO; thus
        As promised, L lowered the price from $5,OOO to only
        saving you $I,OOO  todaY.
                                                           your records'
         I attÂched my Seüer Agre€ment æ this enail for paJ¡ment
         fft"           ¡gt        includes easy-to-follow
               "ttt*ted so you
         iristructions;        can easily make your !b'3OO deposit and
                             "ment
         ttre malt remaining pa5rment wherr ready'
                                                                assist you
         Within the Agreeúent' I made crystal clear tlmt I will
                                           on  or about  April  of 2017;
         ¡tt tUttg tddeed sale appücation
                  "
         n tfr" &""tv."  æe able aid ready to seek deed ownership'
         sit"" ttt"t"ä" nO prior outstanding tat( lien certiúcates' this
         will make it easier for tl¡e wallet' Yea!

         Please let me lcrow once you make          your $3oo down paj¡ment
          and you and I are in business'

         I kindly tlhank you for your trust and decision to do business with me'

          tlave a Blessed weekend Ca¡role,
          Biil




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   B¡II CHASE         ^"#:l- ^ff#,                                         One.
     Golden CHECKING$300.00                               $300.00 A3n1nA16 Time           Completed 4993047946,*1.
     (...1168) (...7990)                                                                                                     rngurry

    tsiII            CHASE                                                                                                 See I
    Golden CHECKING$3,600.00                              $3,600.00            ^One-
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 í=*l Gmail
  (no subject)

  3055825052@mms.att net <3055825052@mms.att. net>                                                               Fri, Mar 16, 2018 al 2:23 PM
  To: guyve88O@gmail.com

      I received this overpayment check about the cunent tax lien certificate, \Mrat does this mean, do I still hold The
      certificate?


        2 attachments




                                                          20170807_l30309jpeg
                                                          776K




                                                          20170807_r303f3jpeg
                                                          178K




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                              Thu,0B/1t,2017

     ,,.
 . !r.            Hi Carolle, I'll email You before
                  Monday with a Payment Plan in
:t ,:'




                  hopes that you'll find it doable,
                  favorable and accePtable. Have a
                  Blesseôñight! Bill
                  9.24 PM


                                  Fr-i, 0 8l'i "t ,'20"i 7


                 Please don't forget 1Bo/o annually
                 interest minus $298.
                 18 months interest on $4,000.00
                 Legally earned.
                 Have a blessed day! Carolle

                                                              B:40 AM


                             it{an, üE¡'14t2üI7


                                         Good afternoon Bill,
                                         l'm waiting..".
                                                             12 4Ç pfv{
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     Good morning Bill,
     Can you try to refund me the ak bY
     the end of this month because I
     really need it to pay some bills.

     Tha nksl



                                          B:22 AM


                 Mon , t8/28 2A17


     Good afternoon Bill,
     When exactly would you be able to
     refund me the money?
     I really need it.

                                          1:25 PM

     I sent you several messages and you                      't "'Ìt.4i**
                                                          .,,-.
     haven't reply to neither one. I called               ..i
                                                          ,l-:.. 'tW
                                                                       ';ft3


     you and no answer.                                          W
     Please let me       know!
                                          1:2g pM
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u                        ffi$     Document     Page 12 of 16
                                                                                        t{x




                  Tue,     tïl?ç 7017
    Hello Bill,

    I have some relatives in Texas             that
    need financial help very bad. Please
    try to pay me so I can help them.

    I   will appreciate your consideration!
                                            6.29 PM


                  Tue,09/05/2A17

     Good afternoon Bill,

     All my messages stayed
     unanswered
     You haven't email me yet with the
     payment plan like rj promised since
     August.
     Please consider my fìnancial
     situation!


                                            1:09 PM


                    Sat,   Ag   /09 /2017
Case 17-50849   Doc 59   Filed 03/28/18 Entered 03/28/18 15:53:41   Desc Main
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                                                                                flt"




        situation!

                                          1:09 PM


                     Sat, û9ltg   l2t17

        Good morning Bill,

        Please remember me and let me
        know
        So I can know what to do next for
        my
        Money.
        I'm dealing with all these financial
        issues and have $4,000 in the air.
        Be considerate!


                                          11:33 AM
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                                                                                   AfrE




           situationl

                                            -l:09
                                                    PM


                        lsat, 09/09 /2011


           Good morning Bill,

           Please remember me and let me
           know
          So I can know what to do next for
          my
          Money.
          l'm dealing with allthese frnancial
          issues and have $4000 in the air
          Be consideratel


                                         11.33 Alvl


                        Fr,09 29/2-0i7

          Hi Carolle, please know that I sent
          you an email, with attachments,
          regarding my frling for Chapter 7
          bankruptcy. Best regards, Bill Golden
          1 1:38 AM




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      Case 17-50849       Doc 59     Filed 03/28/18 Entered 03/28/18 15:53:41        Desc Main
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Mrs. Carolle Bruno-Hall                                           Clerk
5506 Constant Spring Terrace                                      U.S. bankruptcy Court
Lauderhill, Florida 333L9                                         11-6 N. Main Street Rm. 223
305 582-5052                                                      Harrisonburg, Virginia 22802



                                         March 2t,20Lg


                                              IN/RE:

                                         Bill Douglas Golden
                                            Chapter 7
                                         Case No. t7-50849
Dear Sirs;
         I purchased a Tax Lien Certificate from Mr. Bill Golden for the sum of: $4,000.00
         On03/23/2076 by wire transfer (copies A#1 included).
         The Propertywas redeemed on07 /28/2017 and I received a check from Broward
         County Tax Collector's Office for the sum of $298.00. I immediately took a photo
         Of the check and sent it to Mr. Golden via text message. Upon Receiving the check, I
         Realized the face value of the Certificate was only worth $298.00. and Mr. Golden
           Sold it to me for $4,000.00.
         On0B/L0/20L7 Mr. Golden sent me a text message saying he will refund me my
         $4,000.00 ( Copies A#2) and never did. I sent Mr. Golden several text messages
         and he never replied to none of them.

         On09 /29 /20t7 Mr. Golden sent me a text message ( Copy A#3) stating" Carolle,
         Know that I filed chapter 7 Bankruptcy ".,
         A few days latter, I received an official letter about the bankruptry filing and my
         Name was one of the creditors that was listed as Disputed.

         This is my explanation of why I object to the Dismissal that was filed. Mr.
         Golden never paid me that $4,000.00, plus 180/o interest that was promised
         fcopies A#4).

         Thankingyou in advance for allowing me to present my case.

                                                               Respectfully submitted

                                                               Carolle Bruno-Hall



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                              URG, VA
                               COI.JRT

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           By
                   DEPUTY CLERK
